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                                                                FILED: September 12, 2019


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


                                      ___________________

                                            No. 19-6734
                                   (5:12-cr-00049-FDW-DCK-1)
                                       ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        MARTIN MARTINEZ SALDANA

                     Defendant - Appellant

                                      ___________________

                                         MANDATE
                                      ___________________

              The judgment of this court, entered 07/23/2019, takes effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk




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